12-35795-cgm       Doc 29   Filed 04/08/19    Entered 04/08/19 13:42:53           Main Document
                                             Pg 1 of 1



                    TULIS WILKES HUFF & GEIGER LLP
                                220 White Plains Road, 2nd Floor
                                  Tarrytown, New York 10591
                                        (914) 747-4400

                                Telecopier Number (914) 460-8685


Thomas M. Geiger                                                            Paralegal
Mark S. Tulis                                                               Pamela G. Pucci




                                                     April 8, 2019


Court Clerk
United States Bankruptcy Court
Southern District of New York
355 Main Street
Poughkeepsie, New York 12601
Attn: Linda DuBois, Deputy Clerk

       Re:     Bierca Natalia Ramos
               Case No. 12-35795 (CGM)

Dear Ms. DuBois,

       In response to your query regarding the status of the above-referenced case, please be
advised that there is a pending personal injury litigation. The case will remain open until we have
reached a settlement.

       If you have any further questions, please do not hesitate to contact me.

                                                     Very truly yours,


                                                     /s/ Pamela G. Pucci
                                                     Pamela G. Pucci
                                                     Paralegal
